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                                   EXHIBIT A

  1. Copies of bank account statements for all accounts held by the Nida Property Inc.
      (the “Debtor”) for 2022, 2023 and 2024, including copies of cancelled
      checks/deposit slips/withdrawal slips;
  2. Copies of Federal and State Tax Returns for 2021, 2022 and 2023;
  3. Proof of insurance for the real properties located at 808 East 16th Street, Brooklyn,
      New York 11230, 810 East 16th Street, Brooklyn, New York 11230, 808 East 12th
      Street, Brooklyn, New York and 814 East 16th Street, Brooklyn, New York 11230
      (the “Real Properties”);
  4. Copies of the deeds, current appraisals, current mortgage statements for the Real
      Properties;
  5. Copies of the closing documents from the Debtor’s purchase of the Real Properties;
  6. Copies of the rent roll, all leases, utility bills for the Real Properties;
  7. List of all tenants residing at the Real Properties;
  8. List of all improvements made by the Debtor to the Real Properties and copies of
      invoices reflecting work performed;
  9. Copies of all corporate documents, including shareholder agreement, share
      certificates, meeting minutes and resolutions, bylaws, articles of organization;
  10. Documents pertaining to the estate of the principal of the Debtor, any Surrogates
      Court documents that appoints his heirs;




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